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12

13                                  UNITED STATES DISTRICT COURT
14                               NORTHERN DISTRICT OF CALIFORNIA
15                                          OAKLAND DIVISION
16

17    JEFF YOUNG, on behalf of himself and all            Case No:      4:17-cv-06252-YGR
      others similarly situated,
18                                                        PLAINTIFFS’ OPPOSITION TO
                             Plaintiff,                   DEFENDANT CREE, INC.’S MOTION TO
19
                                                          DISMISS
20           vs.
                                                          Date:          April 3, 2018
21    Cree, Inc.,                                         Time:         2:00 p.m.
                                                          Place:        Courtroom 1, 4th Floor
22                           Defendant.                   Judge:        Hon. Yvonne Gonzalez Rogers
23
                                                          Complaint Filed:    October 27, 2017
24                                                        Trial Date:         N/A

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     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                                                              4:17-CV-06252-YGR
 1       I.       INTRODUCTION
 2             Defendant Cree, Inc. (hereinafter “Cree”) designs, markets, and manufacture a series of LED
 3   light bulbs and makes express marketing statements about the durability and quality of the product.
 4   Cree’s marketing statements are almost entirely uniform, varying mainly in the advertised lifespan of
 5   each bulb, in hours, and the potential energy savings as a result. The rest of the marketing statements
 6   are uniform, pervasive and appear several different places on both the packaging and marketing
 7   materials. These statements are not limited to representations contained within a federally mandated
 8   energy label, but rather are targeted representations regarding the quality of the light bulbs which are
 9   intended to and do induce consumers to purchase Cree’s products.
10             Unfortunately for Plaintiff Jeff Young (hereinafter “Plaintiff” or “Young”) he relied on Cree’s
11   false marketing statements to his detriment when he purchased Cree’s LED bulb products, and was
12   injured as a result when the product failed well before its advertised life. Accordingly, Plaintiff filed
13   the instant Class Action Complaint (Dkt. No. 1, hereinafter “Complaint”), seeking relief on behalf of
14   himself and all other similarly-situated consumers.
15             Cree now tries to escape liability for its faulty product by claiming federal preemption bars the
16   relief Plaintiff seeks. Cree misapplies the relevant standards on preemption, and Young’s complaint
17   meets all applicable pleading requirements. Young is not required to meet the Rule 9 pleading standard
18   for his non-fraud claims. Cree’s Motion to Dismiss (Dkt. No. 31, hereinafter “Motion”) should be
19   denied in toto. In the alternative, Plaintiff requests leave to amend.1
20       II.      RELEVANT FACTUAL HISTORY
21             Plaintiff Jeff Young is a resident of Guerneville, California who purchased three Cree 100 Watt
22   Standard A-Type bulbs on or around April of 2015 from Walmart. Complaint at ¶ 32. Young paid
23   approximately $15-20 for each bulb. Id. The bulbs were marketed as having a lifetime of “13+ years
24   (15,000 hours), up to 3x as long as the cheap LED bulbs.” Id. at ¶ 19. These marketing representations
25   are substantially identical in type to the marketing representations Cree makes for its other LED bulbs.
26   Id. at ¶¶ 17-27. For example, Cree markets bulbs as having a lifetime as high as 22+ years, saving a
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28    Plaintiff concedes that his claim for Breach of the Covenant of Good Faith and Fair Dealing (Count
     IV) should be dismissed, and hereby abandons that claim.
                                                       -1-
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                       4:17-CV-06252-YGR
 1   purchaser as much as $177 in energy costs over the lifetime of the bulb. Id. Within months, all three
 2   bulbs burned out even though Mr. Young used them according to Cree’s instructions. Id. at ¶ 32.
 3   Young’s experience was very similar to hundreds of other purchasers of Cree bulbs. Id. at ¶ 31.
 4                Plaintiff filed the instant Complaint on October 27, 2017, on behalf of himself and a California
 5   class of purchasers of Cree LED bulbs. Complaint, generally. Cree’s Motion to Dismiss was filed on
 6   January 9, 2018.
 7         III.        ARGUMENT
 8         A. Standard of Review
 9                Dismissal “is appropriate only where the complaint lacks a cognizable legal theory or sufficient
10   facts to support a cognizable legal theory.” Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097,
11   1104 (9th Cir. 2008). The court may consider material submitted as part of the complaint or relied
12   upon in the complaint, and may also consider material subject to judicial notice. See Lee v. City of
13   L.A., 250 F.3d 668, 688-89 (9th Cir. 2001). Courts must accept as true all allegations of material fact
14   offered by the non-moving party and draw all justifiable inferences in the light most favorable to the
15   non-moving party. See N. Star Int'l v. Ariz. Corp. Comm'n, 720 F.2d 578, 580 (9th Cir. 1983). Because
16   of the drastic nature of a motion to dismiss, “to affirm this type of dismissal, it must appear to a
17   certainty that the plaintiff would not be entitled to relief under any set of facts that could be proved.”
18   W. Reserve Oil & Gas Co. v. New, 765 F.2d 1428, 1430 (9th Cir. 1985).
19         B. The Energy Policy and Conservation Act (EPCA) does not preempt
              Young’s claims
20
                  1.      Preemption is a disfavored affirmative defense, and the Court’s analysis
21
                          of Cree’s motion must begin with a “presumption against the preemption
22                        of state police power regulations.”2
23                Cree’s primary argument is that all of Plaintiff’s claims are preempted. Not so. Preemption is
24       an affirmative defense upon which Cree bears the burden of proof. PLIVA, Inc. v. Mensing, 564 U.S.
25       604, 619 (2011). In considering whether it has carried that burden, it is important to remember that
26       “Congress does not cavalierly preempt state-law causes of action,”3 and preemption therefore “is not
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     2
28    Cipollone v. Liggett Group, Inc., 505 U.S. 504, 518 (1992).
     3
      Medtronic, Inc. v. Lohr, 518 U.S. 470, 485 (1996).
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     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                               4:17-CV-06252-YGR
 1       lightly to be presumed.” California Federal Sav. & Loan Ass’n v. Guerra, 479 U.S. 272, 281 (1987).
 2       In fact, it is a disfavored defense,4 particularly in areas of health and safety, which are historically
 3       subject to the police powers of the States. Indeed, as the United States Supreme Court has recognized
 4       for over a century, “[i]f there be any subject over which it would seem the States ought to have plenary
 5       control, and the power to legislate in respect to which it ought not to be supposed was intended to be
 6       surrendered to the general government, it is the protection of the people against fraud and deception.
 7       . .” Plumley v. Massachusetts, 155 U.S. 461, 472 (1894); see also Chavez v. Blue Sky Natural Bev.
 8       Co., 268 F.R.D. 365, 372 (N.D. Cal. 2010) (confirming that “state consumer protection laws” are
 9       “traditionally within the realm of state police power”). Accordingly, “[c]onsumer protection laws
10       enjoy a great presumption against preemption,”5 and Cree is therefore obligated to provide
11       “compelling evidence of an intention to preempt” in order to prevail on its motion. General Motors
12       Corp. v. Abrams, 897 F.2d 34, 41 (2d Cir. 1990) (emphasis added); Brod v. Sioux Honey Ass’n, 927
13       F. Supp. 2d 811, 824 (N.D. Cal. 2013) (holding that in certain areas “ ‘a presumption against
14       preemption’ exists”) (citation omitted); Lanagan v. Johnson & Johnson Consumer Cos., Inc., 95 F.
15       Supp. 3d 284, 291 (D. Conn. 2015) (explaining that the “presumption against preemption applies with
16       particular force” when Congress legislates in “a field within the ‘historic police powers of the states;’”
17       including “[t]he advertising and labeling of consumer products”) (citation omitted).
18             In order to overcome the presumption against preemption, Cree must prove that displacement
19   of state law was “the clear and manifest purpose of Congress.” Rice v. Santa Fe Elevator Corp., 331
20   U.S. 218, 230 (1947). This is no easy task given the fact that if there are two equally “plausible”
21   readings of a statute, courts “have a duty to accept the reading that disfavors preemption.” Bates v.
22   Dow Agrosciences L.L.C., 544 U.S. 431, 449 (2005) (emphasis added).
23
                2.      Young’s claims do not rely on a federally-mandated label and are
24                      grounded on laws of general application that create a duty not to deceive;
25                      as such, they are outside the preemptive scope of the EPCA

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     4
       See Dupnik v. United States, 848 F.2d 1476, 1480 (9th Cir. 1988) (confirming that “[p]reemption of
     state law by federal statute or regulation is not favored”).
     5
28     North Dakota ex rel. Stenehjem v. Simple.net, Inc., No. 1:08-cv-002, 2008 U.S. Dist. LEXIS 16228,
     at *12 (D.N.D. Mar. 3, 2008) (emphasis added).
                                                         -3-
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                       4:17-CV-06252-YGR
 1          Federal law can preempt state law claims in three ways: First, “Congress can define explicitly
 2   the extent to which its enactments pre-empt state law.” English v. General Elec. Co., 496 U.S. 72, 78-
 3   79 (1990). Second, “in the absence of explicit statutory language, state law is preempted where it
 4   regulates conduct in a field that Congress intended the Federal Government to occupy exclusively.”
 5   Id. at 79. And third, “state law is pre-empted to the extent that it actually conflicts with federal law;”
 6   i.e., “where it is impossible for a private party to comply with both state and federal requirements.”
 7   Id. These concepts are known as express, field, and conflict preemption, and they must be considered
 8   with due regard for the following well-settled legal principles: (1) “[t]he purpose of Congress is the
 9   ultimate touchstone in every preemption case;”6 (2) when a federal statute contains an express
10   preemption clause – as the EPCA does – the inquiry into Congressional intent must begin with the
11   Act’s “‘plain wording,’ as this ‘necessarily contains the best evidence of Congress’ pre-emptive
12   intent;’ ”7 (3) “[t]he presence of an express preemption provision supports an inference that Congress
13   did not intend to preempt matters beyond the reach of that provision;”8 and (4) the existence of a
14   detailed federal regulatory or enforcement scheme “does not by itself imply preemption of state
15   remedies.” English v. General Electric Co., 496 U.S. 72 (1990). Indeed, as the Supreme Court has
16   long cautioned:
17          To infer pre-emption whenever an agency deals with a problem comprehensively is
            virtually tantamount to saying that whenever a federal agency decides to step into a
18          field, its regulations will be exclusive. Such a rule, of course, would be inconsistent
            with the federal-state balance embodied in our Supremacy Clause jurisprudence.
19
20   Hillsborough County v. Automated Medical Laboratories, Inc., 471 U.S. 707, 717 (1985).

21          Cree does not specify its preemption theory, but appears to contend that Young’s claims are

22   expressly preempted by the EPCA;9 specifically 42 U.S.C. § 6297(g), which provides as follows:

23          No warranty. Any disclosure with respect to energy use, energy efficiency, or estimated
            annual operating cost which is required to be made under the provision of this part [42
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       Medtronic v. Lohr, 518 U.S. 470, 485 (1996).
     7
       Holmes v. Merck & Co., 697 F.3d 1080, 1085 (9th Cir. 2012) (quoting Sprietsma v. Mercury Marine,
26
     537 U.S. 51, 62-63 (2002)).
     8
27     Metrophones Telecomm, Inc. v. Global Crossing Telecomm., Inc., 423 F.3d 1056, 1072 (9th Cir.
     2005)
28   9
       See Motion at 5 (urging that “Congress expressly preempted any state laws or regulations that conflict
     with the disclosure requirements imposed by the EPCA . . .”)
                                                      -4-
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                         4:17-CV-06252-YGR
 1          U.S.C. §§ 6291 et seq.] shall not create an express or implied warranty under State or
            Federal law that such energy efficiency will be achieved or that such energy use or
 2          estimated annual operating cost will not be exceeded under conditions of actual use.
 3
            As to the “disclosures” Cree is required to make “with respect to energy use, energy efficiency,
 4
     or estimated annual operating cost” under the EPCA, it cites – but does not quote – 16 C.F.R. § 305.15,
 5
     which provides, in relevant part:
 6
            (i)     The principal display panel of the product package shall be labeled clearly and
 7                  conspicuously with the following information consistent with the Prototype
                    Labels in Appendix L:
 8
                    (A)      The light output of each lamp included in the package, expressed as
 9                          “Brightness” in average initial lumens rounded to the nearest five;
10
                    (B)     The estimated annual energy cost of each lamp included in the package,
11                          expressed as “Estimated Energy Cost” in dollars and based upon usage
                            of 3 hours every per day and 11 cents ($0.11) per kWh; and
12
                    (C)     The life, as defined in § 305.2(w),10 of each lamp in the package,
13                          expressed in years rounded to the nearest tenth (based on 3 hours
14                          operation per day.

15   16 C.F.R. § 305.15 (c)(2)(i).

16          Cree’s omission of the full text of this regulation is unsurprising given that its plain language

17   limits the regulation’s application to information set forth on a product’s “principal display panel,” an

18   illustrative example of which looks like this:

19
20

21

22

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26
27

28   10
        16 C.F.R. § 305.2(w) provides that “Life and lifetime for lamps mean length of operating time of a
     statistically large group of lamps
                                                      -5-
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                       4:17-CV-06252-YGR
 1          However, Young’s claims are not based on the alleged falsity of any information in the
 2   principal display panel of any Cree bulb. Indeed, throughout his Complaint, Young cites myriad
 3   examples of Cree’s deceptive labeling, marketing, and advertising that exist independently from any
 4   representation set forth on the principal display panels. For example, Young explains that:
 5                  Many of Cree’s LED bulbs are sold with packaging which indicates that the
                    product comes with a 10 Year Warranty. . . These representations signal to the
 6                  consumer that the useful life of the product will be at least 10 years or more.
                    Complaint ¶ 15.
 7

 8                  Furthermore, Cree packaging boasts that their products have a life of ‘27+
                    years’ or more depending on the bulb. Id. at ¶ 16
 9
                    . . . On its website, Cree claims with respect to each type of LED Lightbulb that
10                  “the Cree LED bulb is . . . designed to last more than 22 years (25,000 hours),
                    [and] the Cree LED bulb “is a worry-free choice backed by a 100% performance
11
                    satisfaction guarantee.” Id. at ¶ 17.
12
                    ***
13
                    Defendant’s Label Misrepresentations11
14

15                  Defendant’s misrepresentations within advertisements and marketing include,
                    but are not limited to, the following:
16
                                  Defendant’s labels advertise that the products have a 13-32+
17                                 years useful lifetime.
18
                                  Defendant’s labels indicate that the products have a 10 Year
19                                 Warranty.

20                                Defendant’s labels indicate that the products carry a 100%
                                   Satisfaction Guarantee.
21

22                  ***

23                  Defendant’s Advertising and Marketing Misrepresentations

24                                “Long LED lifetime lasts 13+ years (15,000 hours), up to 3x as
                                   long as the cheap LED bulbs.”
25

26                                “Long LED lifetime lasts 22+ years (25,000 hours), up to 6x as
                                   long as the cheap LED bulbs.”
27
     11
28     Each of the representations cited in Paragraph 27 of the Complaint appear in places other than the
     “principal display panel.”
                                                     -6-
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                      4:17-CV-06252-YGR
 1
                                 “Long LED lifetime lasts 32+ years (35,000 hours), up to 3x as
 2                                long as the cheap LED bulbs.”
 3
                                 “[D]esigned to last more than 22 years (25,000 hours), the Cree
 4                                LED bulb is a worry-free choice backed by a 100% performance
                                  satisfaction guarantee. The LED general purpose bulbs “last up
 5                                to 25,000 hours, equal to 25 incandescents.”
 6
                                 25,000-hour lifetime compared to about 1,000 hours for a typical
 7                                incandescent.”

 8                               “Most Cree LED bulbs are rated to last 25,000 hours. So you’ll
                                  be happy to have beautiful Cree LED light in your home for
 9                                decades.” Id. at ¶ 27
10
                   ***
11
                           Through the advertisements described above and others, Cree
12                         represented, directly or indirectly, expressly or by implication, that the
                           LED Lightbulbs would last for specified periods or lifespans. These
13
                           representations are false. . . Id. at ¶ 29 (emphasis added).
14
            In light of the foregoing, it is evident that Young’s claims do not, as Cree contends, “derive
15
     from supposed misrepresentations included on Cree’s federal-mandated” principal display panel.
16
     Motion at 3-4. Accordingly, they fall comfortably outside the parameters of 16 C.F.R. § 305.15 and
17
     the preemptive reach of the EPCA;12 this conclusion is confirmed by the fact that courts across the
18
     country have refused to find EPCA preemption in cases where the plaintiffs, like Young, alleged
19
     misrepresentations made via sources other than federally-mandated labels.
20
            Illustrative of such cases is In re Ford Fusion & C-Max Fuel Econ. Litig., a class action in
21
     which the plaintiffs: (a) purchased certain vehicles in reliance on Ford’s assurances that they would
22
     realize specific fuel economy savings; and (b) filed suit alleging violations of the CLRA, UCL, and
23
     FAL (among other state consumer protection statutes) when those representations turned out to be
24
     false. In re Ford Fusion & C-Max Fuel Econ. Litig., No. 13-MN-2450 (KMK), 2015 U.S. Dist. LEXIS
25
     155383, at *2, 27 (S.D.N.Y. Nov. 12, 2015). Ford filed a motion to dismiss, arguing there, as Cree
26
27   12
        Like all other express preemption provisions, 42 U.S.C. § 6297(g) “should be given a narrow
28   interpretation.” Air Conditioning & Refrigeration Inst. v. Energy Res. Conservation & Dev. Comm’n,
     410 F.3d 492, 496 (9th Cir. 2005); see also Cipollone, 505 U.S. at 518.
                                                     -7-
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                        4:17-CV-06252-YGR
 1   does here, that any claim based on labels “that contain federally-mandated disclosure language” is
 2   preempted by the ECPA. Id. at *65-66. In support of its position, Ford noted that the testing and
 3   disclosure of estimated fuel economy for new vehicles is governed by the EPCA’s “comprehensive
 4   federal regulatory scheme,” and went on to explain that the applicable regulations mandated each new
 5   vehicle “be labeled with a sticker (a ‘Monroney Sticker’)13 indicating estimated fuel economy.” Id. at
 6   *14. The plaintiffs opposed, explaining that their consumer protection claims “were not based on the
 7   disclosure of fuel economy or fuel operating costs, but rather [were] based on the more general duty
 8   not to deceive,” which Ford violated by “portraying a false impression about the ‘superior’ fuel
 9   economy of the [Vehicles], beyond the mere disclosure of the EPA estimates.” In re Ford, 2015 U.S.
10   Dist. LEXIS 155383, at *66-67 (emphasis added). In other words, the plaintiffs’ claims were “rooted
11   in an extrinsic duty not to deceive, one that is not equivalent to disclosure obligations under the
12   EPCA.” Id. at *70.
13          The court denied Ford’s motion in part, explaining that “the EPCA ‘and the regulations issued
14   pursuant to it do not purport to regulate advertising of fuel economy beyond the requirements of the
15   Monroney Sticker and the dealer booklet,” and concluding that therefore, “state false advertising
16   claims ‘are not preempted’” by the Act. In re Ford, 2015 U.S. Dist. LEXIS 155383, at *71-72 (citation
17   omitted). In so holding, the court reasoned that:
18          . . . Congress did not intend to protect car manufacturers that may have falsely
            advertised facts about their vehicles—including facts that might go beyond merely
19
            reporting the EPA-estimated MPG. . . Indeed, as Defendant admits, Congress’ intent in
20          regulating EPA fuel economy disclosures was not to prevent false advertising but rather
            was to “provid[e] consumers with uniform and comparable fuel economy information.”
21

22   Id. at *72-73
23

24

25   13
       Specifically, automobile manufacturers are required to place a label on each new vehicle that states
     the fuel economy of the automobile; the estimated annual fuel cost of operating the automobile; the
26
     range of fuel economy of comparable automobiles of all manufacturers; a statement that a booklet is
27   available from the dealer to assist in making a comparison of fuel economy of other automobiles; the
     amount of the automobile fuel efficiency tax imposed on the sale of the automobile under the Internal
28   Revenue Code; and other information required or authorized by the Administrator that is related to the
     foregoing subjects. See 49 U.S.C. § 32908(b)(1)(A)-(F).
                                                       -8-
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                        4:17-CV-06252-YGR
 1          The court also noted that Ford’s advertisements functioned to “guarantee real-world fuel
 2   economy,” and it “concur[ed] with holdings of other courts” – including those in California, both state
 3   and federal – “that considered similar allegations, namely that advertisements functioned to guarantee
 4   specific, real world performance, and conclude[d] that such claims are not preempted.” In re Ford,
 5   2015 U.S. Dist. LEXIS 155383, at *72-73; see also Yung Kim v. GM, LLC, 99 F. Supp. 3d 1096, 1104
 6   (C.D. Cal. Mar. 9, 2012) (EPCA did not preempt plaintiffs’ UCL and CLRA claims alleging
 7   defendants’ advertisements “could lead a reasonable consumer to believe [its] vehicle is capable of
 8   achieving these EPA [label] estimates under real world conditions” because plaintiff’s claims “did not
 9   challenge the disclosure of the EPA estimate itself,” but rather “challeng[ed] GM’s use of the EPA
10   estimates in a way that may give consumers the mistaken impression that they are able to achieve real-
11   world mileage and tank range derived from these figures”) (emphasis in original); Espinoza v. Hyundai
12   Motor Am., No. CV 12-800-GW(FFMx), 2012 U.S. Dist. LEXIS 191088, at *6-7 (C.D. Cal. Apr. 23,
13   2012) (plaintiffs’ UCL, FAL, and CLRA not preempted by the EPCA “to the extent [those] claims
14   rest on allegations that Hyundai ‘voluntarily made assertions, beyond the disclosure of mileage
15   estimates, that are untrue or misleading’”); Sanchez v. Ford Motor Co., No. 13-cv-01924-RBJ, 2014
16   U.S. Dist. LEXIS 73195, at *18 (D. Colo. May 29, 2014) (ECPA did not preempt plaintiffs’ state law
17   consumer protection claims based on allegations that Defendant misrepresented the vehicle he
18   purchased “would match the fuel economy estimates he had viewed from Ford’s advertising”);
19   Paduano v. American Honda Motor Co., Inc., 169 Cal. App. 4th 1453, 1478 (Cal. Ct. App. 2009)
20   (holding that EPCA did not preempt plaintiff’s UCL and CLRA claims because: (a) he “is not claiming
21   that disclosing the EPA mileage estimates is, by itself, deceptive,” but rather “maintains that Honda
22   has voluntarily made additional assertions, beyond the disclosure of the mileage estimates, that are
23   untrue or misleading;” and (b) neither the UCL nor the CLRA is a law that is based on disclosure of
24   fuel economy or fuel operating costs; rather, [they] are both laws of general application that create a
25   duty not to deceive”).
26          As explained at length above, the EPCA and its attendant regulations do not purport to regulate
27   the advertising of light bulbs beyond the requirements of the principal display panel. In this case, as
28   in those cited above, Young’s claims do not rely on the alleged falsity of Cree’s federally mandated

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     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                         4:17-CV-06252-YGR
 1   disclosures. Instead, he is alleging that Cree voluntarily made additional representations beyond those
 2   required by 16 C.F.R. § 305.15, and that those representations are deceptive, misleading, or ultimately
 3   untrue. As such, his claims are “rooted in an extrinsic duty not to deceive,” which is “not equivalent
 4   to disclosure obligations under the EPCA,” and thus are not subject to preemption thereunder. In re
 5   Ford, 2015 U.S. Dist. LEXIS 155383, at *70. Not only is this conclusion consistent with the plain
 6   wording of the EPCA and 16 C.F.R. § 301.15, it is in direct conformity with the courts’ recognition
 7   of the fact that “no clear and manifest Congressional intent to regulate advertising,” and that “allowing
 8   the States to regulate false advertising and unfair business practices perhaps may further the goals of
 9   the EPCA.” True v. Am. Honda Motor Co., 520 F. Supp. 2d 1175, 1181 (C.D. Cal. 2007). Accordingly,
10   the Court should reject Cree’s preemption argument and deny its motion.
11          3.      The authority Cree cites is distinguishable and inapposite
12          In support of its preemption argument Cree relies almost entirely on Schwartz v. Vizio, a case
13   in which the plaintiffs alleged that Vizio misrepresented its televisions as being “among the most
14   energy efficient” on the market when, in fact, they were not. Schwartz v. Vizio, No. SACV 16-01883
15   JVS (DFMx), 2017 U.S. Dist. LEXIS 8794, at *1-2 (C.D. Cal. May 23, 2017). In that case, the
16   plaintiffs claimed that Vizio made its misrepresentations in two ways: (1) by displaying an
17   EnergyGuide label, which was required by the FTC; and (2) by displaying an Energy Star logo, which
18   likewise conveyed that Vizio’s televisions were “among the most energy efficient of similar products
19   available in the marketplace.” Id. at *2-3.
20          The court granted Vizio’s motion to dismiss the plaintiffs’ claims but only “to the extent that
21   they rely on the Energy Guide label,” finding such claims to be preempted because they “allege that
22   the televisions did not perform as promised on a federally-required label.” Schwartz, 2017 U.S. Dist.
23   LEXIS 87954, at *11. More importantly, however, the Vizio court, like its brethren in each of the cases
24   cited above, refused to dismiss claims based on misrepresentations set forth in locations other than the
25   federally-mandated label; for example the Energy Star logo, which also “misrepresent[ed] the
26   televisions’ energy consumption,” and thus had the potential to mislead reasonable consumers. Id. at
27   *14. In so holding, the court noted that “the Energy Star program is voluntary,” and that the disclosures
28   of energy efficiency made in connection therewith are not “‘required to be made’ by statute.” Id. at *13.

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     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                           4:17-CV-06252-YGR
 1          In this case, as in Schwartz, Young is alleging that Cree voluntarily made representations (or,
 2   more accurately, misrepresentations) with respect to the durability and functionality of its light bulbs.
 3   Those disclosures are not “required to be made by federal statute” and, as the Schwartz court
 4   recognized, claims based thereon cannot be preempted by the EPCA. Thus, rather than supporting
 5   Cree’s contentions, Schwartz actually demonstrates the fallacy of its position, and mandates the
 6   rejection of Cree’s arguments based thereon.
 7      C. Not All of Young’s Claims Are Governed by Fed. R. Civ. P. 9(b)
 8          In its Motion, Cree insists that all of Young’s claims sound in fraud and are thus governed by
 9   the heightened pleading requirement of Rule 9(b). While Plaintiff contends that any fraud-based
10   claims are pled with sufficient specificity, Defendant’s argument should be rejected insofar as the non-
11   fraud claims were pled under the correct legal standard.
12          As an initial matter, Plaintiff’s breach of warranty claims do not sound in fraud and, thus, are
13   not governed by Rule 9(b)’s heightened pleading requirements. Zapata Fonseca v. Goya Foods Inc.,
14   Case No. 16-CV-02559-LHK, 2016 WL 4698942, at *8 (N.D. Cal. Sept. 8, 2016) (finding claims for
15   “breach of express warranty, breach of the implied warranty of merchantability, and breach of the
16   implied warranty of fitness do not sound in fraud.”). Plaintiff’s claims for negligence, negligent
17   misrepresentation, unjust enrichment, violation of the UCL, violation of the CLRA, and violation of
18   FAL are likewise not governed by Rule 9(b). See Vess v. Ciba–Geigy Corp. USA, 317 F.3d 1097,
19   1103–04 (9th Cir. 2003) (a claim does not sound in fraud where it is premised on negligent conduct);
20   Ventura Cnty. Nat. Bank. v. Macker, 57 Cal. Rptr. 2d 418, 418 (Cal. App. 4th 1996) (finding a claim
21   of negligent misrepresentation implicates the two-year statute of limitations for negligence, rather than
22   the three-year statute of limitations for fraud); Waldrup V. Countrywide Financial Corp., No. 2:13–
23   cv–08833–CAS, 2014 WL 1463881, at *8 (C.D. Cal. Apr. 14, 2014) (finding unjust enrichment claims
24   are not governed by Rule 9(b)); Vess, 317 F.3d at 1104-1105 (fraud is not an essential element either
25   of a CLRA or a UCL claim); Janney v. Mills, 944 F.Supp.2d 806, 817 (N.D. Cal. 2013) (FAL claims
26   are only subject to Rule 9(b) pleading requirements where they are premised on fraud allegations).
27          It is only where such claims allege “a unified course of fraudulent conduct and rely entirely on
28   that course of conduct as the basis of a claim,” that such claims become subject to Rule 9(b)’s

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     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                           4:17-CV-06252-YGR
 1   heightened pleading requirement. Vess, 317 F.3d at 1103–04. A review of the allegations made in
 2   support of each of these claims makes it clear that such claims do not rely entirely on a unified course
 3   of fraudulent conduct. Complaint at ¶¶ 48, 59 (the FAL claims allege that Cree knew or should have
 4   known that the statements were and are misleading), 71 (the CLRA claims allege that Cree’s
 5   misleading statements were at minimum made without the use of reasonable procedures adopted to
 6   avoid such errors), 81 (breach of covenant of good faith and fair dealing alleges that Cree intentionally
 7   or negligently failed to disclose material facts), and 94 (negligent misrepresentation claim alleges that
 8   Cree made misleading statements without a reasonable basis to believe they were true); 108 (unjust
 9   enrichment claim alleges that it would be inequitable for Cree to retain the benefits conferred by
10   Plaintiff and class members). Thus, Plaintiff’s claims for negligence, negligent misrepresentation,
11   unjust enrichment, violation of the UCL, violation of the CLRA, and violation of FAL are not
12   governed by Rule 9(b).
13      D. Plaintiff Meets and Exceeds the Rule 9 Pleading Standard
14          While the majority of Plaintiff’s claims are not subject to Rule 9(b)’s heightened pleading
15   requirement, his fraudulent misrepresentation and concealment claims are . Regardless, Young has
16   adequately met the heightened pleading standards of Rule 9(b) for purposes of his fraudulent
17   misrepresentation and concealment claims.
18          “In all averments of fraud or mistake, the circumstances constituting fraud or mistake shall be
19   stated with particularity.” Fed. R. Civ. P. 9(b). The allegations must be “specific enough to give the
20   defendants notice of the particular misconduct which is alleged to constitute the fraud charged so that
21   they can defend against the charge and not just deny that they have done anything wrong.” Semegen
22   v. Weidner, 780 F.2d 727, 731 (9th Cir. 1985). Statements of the time, place and nature of the alleged
23   fraudulent activities are sufficient provided the plaintiff sets forth “what is false or misleading about a
24   statement, and why it is false.” In re GlenFed, Inc., Sec. Litig., 42 F.3d 1541, 1548 (9th Cir. 1994);
25   Wool v. Tandem Computers, Inc., 818 F.2d 1433, 1439 (9th Cir. 1987). “Averments of fraud must be
26   accompanied by ‘the who, what, when, where, and how’ of the misconduct charged.” Vess, 317 F.3d
27   at 1101, 1106. Scienter may be averred generally, simply by saying that it existed. In re GlenFed, Inc.,
28   Sec. Litig., 42 F.3d at 1547; Fed.R.Civ.P. 9(b) (malice, intent, knowledge, and other mental states may

                                                       - 12 -
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                            4:17-CV-06252-YGR
 1   be averred generally). As to matters peculiarly within the opposing party's knowledge, pleadings based
 2   on information and belief may satisfy Rule 9(b) if they also state the facts on which the belief is
 3   founded. Wool, 818 F.2d at 1439.
 4           Plaintiff has adequately alleged his fraudulent misrepresentation and concealment claims. One
 5   need not look any further than the first allegation of the complaint for purposes of demonstrating that
 6   Plaintiff has met his burden of pleading Cree’s fraudulent conduct. In this allegation, Plaintiff
 7   specifically alleges that Cree’s misleading representations are prominently featured on the product
 8   labeling and packaging and are viewed by every consumer at the point of purchase. In this same
 9   paragraph, Plaintiff further alleges that consumers overpay for Cree’s lightbulbs based on these
10   misrepresentations. Thus, to the extent Cree contends that the complaint fails to allege what misleading
11   information Plaintiff specifically relied upon, this argument fails since the complaint clearly alleges
12   that Mr. Young, like other consumers, relied on the misleading statements specifically listed on the
13   bulbs he purchased. Complaint at ¶ 1. The complaint then goes on to identify Cree’s misleading
14   statements contained in marketing materials, on Cree’s website, and on the packaging of its various
15   bulbs (including those not purchased by named plaintiff). Complaint at ¶ 27 (identifying labeling,
16   advertising, and marketing misrepresentations by Cree); id. at ¶¶ 19-21, 23-25. Thus, the complaint
17   adequately alleges and identifies the misleading statements that Plaintiff specifically relied upon.14
18        E. Young’s Labeling Claims Are Not Disguised Warranty Claims
19        Cree argues that Young’s claims alleging misrepresentations found outside the federally-required
20   principal display panel (EnergyGuide label) should be dismissed because, per Cree, they are
21   “disguised warranty claims.” Motion at 11. The fallacy of Cree’s contention in this regard is
22   conclusively confirmed by: (a) the previous discussion of preemption, which established that Young’s
23   claims are “rooted in an extrinsic duty not to deceive,”15 and that such claims can exist alongside any
24

25
     14
        To the extent the Court determines any of Plaintiff’s other claims must meet the pleading standard
26
     of Rule 9(b), such claims have been adequately alleged for the same reasons discussed with respect
27   to Plaintiff’s fraudulent misrepresentation and concealment claim. Should the Court disagree,
     Plaintiff’s claims should be dismissed with leave to amend. See Keilholtz v. Superior Fireplace Co.,
28   No. C 08-00836 CW, 2009 WL 839076, at *6 (N.D. Cal. Mar. 30, 2009).
     15
        In re Ford, 2015 U.S. Dist. LEXIS 155383, at *70.
                                                      - 13 -
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                         4:17-CV-06252-YGR
 1   warranty claims; and (b) a review of the authority Cree cites in alleged support of its position, which
 2   actually confirms its argument to be untenable.
 3      In its brief, Cree relies primarily (if not entirely) on Punian v. Gillette Co., a case in which the
 4   plaintiffs took issue with Gillette’s Duralock Batteries, which included the following language on their
 5   labels: “GUARANTEED for 10 YEARS in storage.” Punian v. Gillette Co., No. 14-CV-0528-LHK,
 6   2016 U.S. Dist. LEXIS 34164, at *3 (N.D. Cal. Mar. 15, 2016). In that case, the plaintiff claimed that
 7   the foregoing language constituted an affirmative representation that the batteries would not leak or
 8   otherwise fail for a period of ten years. Id. at *17. When they did leak, Punian filed suit alleging
 9   violations of the California consumer protection statutes (i.e., the CLRA, UCL, and FAL). Id. at *17-
10   18. Gillette moved for dismissal, arguing that its foregoing “guarantee” was “an express warranty, not
11   a promise that Duralock Batteries have absolutely no potential to leak.” Punian, 2016 U.S. Dist.
12   LEXIS 34164, at *19. The court granted the motion, focusing exclusively on Gillette’s use of the word
13   “guarantee.” Specifically, the court explained that “[i]n California the use of the term ‘guarantee’
14   generally creates an express warranty,” which “is not a representation that a product has no defects,
15   but rather a promise to repair, replace or refund a failed product.” Id. at *20. It went on to note that
16   both the common understanding and dictionary definition of the term “guarantee” confirm it to be “‘a
17   written promise by a company to repair or change a product that develops a fault within a particular
18   period of time.’” Id. at *20-21 (quoting Cambridge Dictionaries Online). Given the foregoing, the
19   court concluded that a reasonable consumer would understand Gillette’s use of the term “guarantee”
20   to simply convey “a promise to repair, replace, or refund”, and “not as a promise that Duralock have
21   no potential to leak.” Id. at *20. Thus, the court held that Punian “fail[ed] to allege an affirmative
22   representation based on the Duralock guarantee.” Id. at *26 (emphasis added).
23      Unlike the plaintiff in Punian, Young is not basing his non-warranty claims on Cree’s use of the
24   term “guarantee” in touting the expected life of its bulbs. Indeed, as set forth at length above, Cree has
25   not couched its representations in terms of a “guarantee,” but instead has unequivocally represented
26   (or, more accurately misrepresented) to consumers in its advertising materials and on its packaging
27   that its “products have a life of ‘27+ years’ or more depending on the bulb;” that “the Cree LED bulb
28   is . . . designed to last more than 22 years (25,000 hours);” that Cree bulbs have a “25,000-hour lifetime

                                                       - 14 -
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                           4:17-CV-06252-YGR
 1   compared to about 1,000 hours for a typical incandescent;” and that “[m]ost Cree LED bulbs are rated
 2   to last 25,000 hours. So you’ll be happy to have beautiful Cree LED light in your home for decades.”
 3   These critical factual distinctions reveal that Cree’s reliance on Punian is misplaced, and confirm that
 4   its arguments based thereon should be rejected. Whether those representations are capable of
 5   misleading a reasonable consumer is “a question of fact not appropriate for decision on demurrer.”
 6   Williams v. Gerber Prods. Co., 552 F.3d 934, 939 (9th Cir. 2008). Accordingly, its motion should be
 7   denied.
 8      F. Unjust Enrichment is Properly Alleged
 9             Recent California appellate authority has clarified that “an unjust enrichment claim [fails only]
10   where the parties have an enforceable express contract.” Weyand v. Union Cent. Life Ins. Co., 2016
11   Cal. App. Unpub. LEXIS 1422, *28 (Ct. App. 4th Dist. Feb. 26, 2016) (italics in original) (allowing
12   an unjust enrichment claim to go forward in the presence of a non-enforceable express contract). There
13   is no evidence that such an enforceable contract existed. Indeed, Cree cannot have it both ways by
14   claiming that an enforceable contract exists here between the parties, yet, claiming elsewhere that there
15   is no privity of contract. If lack of privity must bar some of Plaintiff’s claims then the unjust
16   enrichment claim necessarily must survive.
17             More importantly, Cree’s notion that “unjust enrichment is not a cause of action in California”
18   is false. Motion at 12 (citing Williams v. Yamaha Motor Co. Ltd., 2014 WL 12597039 at *16 (C.D.
19   Cal. Aug. 19, 2014)). Defendant’s position contradicts the weight of California state authority on the
20   subject. See, e.g., Lectrodryer v. SeoulBank, 77 Cal. App. 4th 723, 726 (Ct. App. 2000) (to state claim
21   for unjust enrichment, Plaintiff must plead "receipt of a benefit and the unjust retention of the benefit
22   at the expense of another."); Ghirardo v. Antonioli, 14 Cal. 4th 39 (Cal. 1996) (recognizing a cause of
23   action for unjust enrichment upon a showing that the defendant received benefit through another's
24   known mistake, fraud, coercion or other tortious conduct); see also, Hernandez v. Lopez, 180 Cal.
25   App. 4th 932, 938 (Ct. App. 2009) (same); Peterson v. Cellco Partnership, 164 Cal. App. 4th 1583,
26   1593 (Ct. App. 4th Dist. 2008) (same). Courts outside of California also recognize the viability of a
27   California unjust enrichment claim. See, e.g., In re Processed Egg Prods. Antitrust Litig., 851 F. Supp.
28   2d 867, 913 (E.D. Pa. 2012)

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     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                             4:17-CV-06252-YGR
 1           At best, Defendant’s argument is an exercise in semantics. Gerawan Farming, Inc. v. Rehrig
 2   Pac. Co., 2012 U.S. Dist. LEXIS 28017, at *30 (E.D. Cal. Mar. 2, 2012) (“It appears, however, that
 3   the split is largely a dispute in semantics. Those courts concluding that unjust enrichment is not a
 4   stand-alone cause of action have typically recharacterized the claim as one for restitution…. Therefore,
 5   for all relevant purposes, unjust enrichment appears to be ‘synonymous’ with restitution, which is a
 6   viable cause of action under California law.”) (citations omitted); see also, Nordberg v. Trilegiant
 7   Corp., 445 F. Supp. 2d 1082, 1100 (N.D. Cal. 2006) (same). Cree’s arguments against the viability of
 8   an unjust enrichment claim fails.
 9
          G. Negligent Failure to Warn is a Viable Claim in California, and is Not Barred by the
10           Economic Loss Rule
11           As discussed supra, preemption does not bar Plaintiffs’ causes of action.16 Nor does
12   Defendant’s nitpicking of the “Negligence – Failure to Test” claim mean the claim is unviable.
13   Young’s allegations concerning the failure to test is directly tied to the liability associated with
14   Defendant’s manufacture, design, and failure to warn – and as such, a negligence claim survives.
15   Centeno v. Bayer HealthCare Pharm. Inc., No. 3:14-cv-75-DRH-DGW, 2014 U.S. Dist. LEXIS
16   136234, at *8-9 (S.D. Ill. Sep. 26, 2014) (applying California law and denying dismissal of a
17   negligence claim by finding that “failure to test” is a factual allegation supporting a claim that
18   defendants were negligent and brings it “within the ambit of Valentine, which recognizes that testing
19   and inspection duties may be tied to liability for manufacture, design, and failure to warn, even if they
20   are not maintainable as an independent duty.”); accord, Valentine v. Baxter Healthcare Corporation,
21   68 Cal. App. 4th 1467, 1485 (Ct. App. 1999) (“The duty to test is a subpart of the other three duties
22   [to safely manufacture, adequately design, and appropriately warn]”); see also, Gordon v. Aztec
23   Brewing Co., 33 Cal. 2d 514, 520 (Cal. 1949) (“[H]ere was present in this case a strong showing of
24   negligence in the defendant's failure to test the bottles.”). As such, Plaintiffs’ “Negligence – Failure
25   to Test” claim must be construed as and survive as a negligence claim at minimum. The economic loss
26
27
     16
       A threshold issue exists whether Defendant’s challenge to allegations of negligent testing is
     appropriate at the early motion to dismiss stage. In re Silicone Gel Breasts Implants Prods. Liab.
28   Litig., 318 F. Supp. 2d 879, 903 (C.D. Cal. 2004) (“the question of whether Defendants breached a
     duty of care by not testing…would be an issue for the jury.”)
                                                      - 16 -
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                         4:17-CV-06252-YGR
 1   rule also does not bar a negligence claim where, as here, Defendant has failed to adequately test its
 2   LED lightbulbs and deceived Plaintiff about the product’s characteristics. Hannibal Pictures Inc. v.
 3   Sonja Prods. LLC, 432 Fed. Appx. 700, 701 (9th Cir. 2011) (holding that a jury verdict, in favor of a
 4   claim grounded in tort and negligence, was not precluded by the economic loss rule where “one party
 5   has lied to the other”).
 6       H. Negligent Misrepresentation has been adequately alleged
 7           As discussed supra, the economic loss rule does not bar this cause of action because it sounds
 8   in fraud. See, e.g., Hannibal Pictures Inc. v. Sonja Prods. LLC, 432 Fed. Appx. 700, 701 (9th Cir.
 9   2011) (holding a jury verdict, in favor of a claim grounded in tort and negligence, was not precluded
10   by the economic loss rule where “one party has lied to the other”); see also, Kalitta Air, L.L.C. v.
11   Central Texas Airborne Sys. Inc., 315 Fed. Appx. 603, 607 (9th Cir. 2008) (holding negligent
12   misrepresentation is a “species of fraud” under California law, for which “economic loss is
13   recoverable”). As articulated by the California Supreme Court in Robinson Helicopter Co., Inc. v.
14   Dana Corp., 34 Cal. 4th 979 (Cal. 2004), torts of “deceit” fall within an exception to the economic
15   loss rule. Id. at 989. California Civil Code § 1710(2), which defines deceit as “[t]he assertion, as a
16   fact, of that which is not true, by one who has no reasonable ground for believing it to be true,”
17   contemplates negligent statements to fall within the ambit of exclusion from the economic loss rule.
18   As such, negligent misrepresentation is a viable claim. To the extent Defendant contends reliance has
19   not been adequately alleged, it is an argument without merit. Complaint at ¶¶ 1, 50, 67, 90, 96.
20       I. Plaintiff has Adequately Alleged his Breach of Express Warranty Claims
21           Cree’s challenge to Plaintiff’s breach of express warranty claims demonstrates that Cree has

22   misperceived the nature of the claim entirely. While Cree’s challenge suggests that Plaintiff is alleging
23
     that Cree breached its five-year or ten-year limited warranties, it is clear from a review of the complaint
24
     that Plaintiff is actually alleging that Cree’s misrepresentations concerning product life and energy
25
     savings created express warranties that the products would perform at these standards. Complaint at ¶
26
     115 (“Defendant’s written affirmations of fact, promises and/or descriptions constitute a ‘written
27

28   warranty …’”). Accordingly, since Cree makes no challenge to Plaintiff’s express warranty claims so

                                                       - 17 -
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                            4:17-CV-06252-YGR
 1   far as they are predicated on Cree’s misleading statements on its products’ labeling and packaging, in

 2   its marketing statements and on its website, there is no basis for dismissing Plaintiff’s breach of
 3
     express warranty claims.17
 4
          J. Plaintiff has Adequately Alleged that Cree was Aware of the Defect
 5
             So far as Young’s claims are premised on fraudulent conduct, Young must allege that Cree
 6
     was aware of the defect and hence was aware of the falsity of its claims. However, for Plaintiff’s non-
 7
     fraud claims, see section III.C supra, there is no requirement that Plaintiff must allege that Cree had
 8

 9   knowledge of the defect. Thus, Cree’s argument about the adequacy of Plaintiff’s allegations regarding

10   notice is only applicable to Plaintiff’s fraudulent misrepresentation and concealment claims. As set
11   forth in detail below, Plaintiff has properly alleged that Cree had notice of the defect.
12
             Under Rule 9(b), malice, intent, knowledge, and other mental states may be averred generally.
13
     As matters peculiarly within the opposing party's knowledge, pleadings based on information and
14
     belief may satisfy Rule 9(b) if the complaint also states the facts on which the belief is founded. Wool,
15

16   818 F.2d at 1439. As part of the Energy Guide Label Program, Cree was required to conduct specific

17   testing of the life expectancy of its light bulbs. In addition to this, Cree also operates limited warranty

18   programs for consumers who experience problems with Cree light bulbs. Although Plaintiff makes
19   no allegation that Cree was on notice of the defect by virtue of its testing and warranty programs, at
20
     bare minimum there is a reasonable inference that Cree had notice of the defect by virtue of these
21
     programs. See Kowalsky v. Hewlett–Packard Co., No. 10–CV–02176–LHK, 2011 WL 3501715 (N.D.
22
     Cal. Aug. 10, 2011) (plaintiff adequately alleged notice of defect where the complaint alleged that the
23

24   defendant performed testing that should have revealed the defect). Although Plaintiff does not know

25

26   17
       It is well-established that statements made in promotional materials, advertisements, and
27   brochures can create express warranties. See, e.g., Keith v. Buchanan, 220 Cal.Rptr. 392, 396 (Cal.
     Ct. App. 1985) (“It is clear that statements made by a manufacturer or retailer in an
28   advertising brochure which is disseminated to the consuming public in order to induce
     sales can create express warranties.”).
                                                      - 18 -
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                          4:17-CV-06252-YGR
 1   what either of these programs revealed concerning the defect (i.e., since such information is peculiarly

 2   within the possession of Cree), Young may plead upon information and belief that Cree learned of the
 3
     defect through testing and/or warranty claims.18
 4
             While Cree heavily relies upon Wilson v. Hewlett-Packard Co., 668 F.3d 1136 (9th Cir. 2012),
 5
     for purposes of arguing that Plaintiff has failed to adequately allege notice, that reliance is misplaced.
 6
     In Wilson the plaintiff tried to show notice of a defect based on the defendant’s access to aggregate
 7

 8   performance data and customer complaints (some of which were dated after the plaintiff had purchased

 9   the product in question). Here, it is known that Cree had to perform significant testing on the life
10   expectancy of its bulbs as part of the federal government’s Energy Guide Label program. This testing
11
     concerned a topic central to Plaintiff’s claims that Cree made misrepresentations (known or unknown)
12
     to Plaintiff and the class he seeks to represent and serves as a basis for alleging, upon information and
13
     belief, that Cree had notice of the defect. See Kowalsky, 2011 WL 3501715 (plaintiff adequately
14

15   alleged notice of defect where the complaint alleged that the defendant performed testing that should

16   have revealed the defect). As noted above, Cree also acquired notice of its bulbs failing prematurely

17   by virtue of its warranty program. Thus, Cree had notice of the defect through sources not at issue in
18   the Wilson case, and the motion should be denied.
19
          K. Plaintiff has Standing to Assert Claims for Substantially Similar Products
20
             Plaintiff’s complaint alleges that Cree manufactured and sold various LED lightbulbs all of
21
     which contain similar misrepresentations regarding the longevity and energy saving attributable to the
22
     bulbs. Because the allegations involve the same type of product and also involve the same type of
23
     misrepresentations, Plaintiff has standing to assert claims on behalf of absent class members for
24
     products he did not purchase. “[A] Plaintiff may have standing to assert claims for unnamed class
25
     members based on products he or she did not purchase so long as the products and alleged
26
     misrepresentations are substantially similar.” Brown v. Hain Celestial Grp., Inc., 913 F.Supp.2d 881,
27
     18
28     If necessary, Plaintiff will file an amended complaint to include these allegations should the Court
     deem it appropriate.
                                                      - 19 -
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                          4:17-CV-06252-YGR
 1   890 (N.D. Cal. 2012); see also Astiana v. Dreyer's Grand Ice Cream, Inc., No. C-11-2910, 2012 WL
 2   2990766, at *11 (N.D. Cal. July 20, 2012) (noting that, in cases that decide whether individual
 3   plaintiffs have standing to represent purchasers of other products, “the critical inquiry seems to be
 4   whether there is sufficient similarity between the products purchased and not purchased”). As the
 5   court explained in Miller v. Ghirardelli Chocolate Co., 912 F. Supp. 2d 861, 869 (N.D. Cal. 2012),
 6   “[t]he majority of the courts that have carefully analyzed the question hold that a plaintiff may have
 7   standing to assert claims for unnamed class members based on products he or she did not purchase so
 8   long as the products and alleged misrepresentations are substantially similar.” The Miller court went
 9   on to note that “substantial similarity” could be ascertained by examining “product composition” and
10   “whether the alleged misrepresentations are sufficiently similar across product[s].” Id.
11          Here, Plaintiff has standing to assert claims on behalf of all purchasers of Cree LED lightbulbs
12   since the products are of the same kind and include nearly identical misrepresentations concerning
13   longevity and energy savings amongst other things. See Complaint at ¶¶ 17 (identifying the three
14   types of LED lightbulbs manufactured by Cree – Standard A-Type, Reflector (Flood/Spot), and
15   Specialty), 18 (identifying the six types of Standard A-Type LED bulbs manufactured by Cree), 22
16   (identifying the eight variations of Cree Reflector (Flood/Spot) products manufactured by Cree), 24
17   (identifying the two varieties of Cree LED “Specialty” line manufactured by Cree); see also ¶ 27
18   (identifying labeling, advertising, and marketing misrepresentations by Cree); see also id. at ¶¶19-21
19   and 23-25 (specifying the misrepresentations that Cree made as it each variety of the Standard A-Type,
20   Reflector (Flood/Spot), and Specialty type products). Plaintiff’s complaint supports an inference that
21   the products are substantially similar (LED lightbulbs) and that Cree made similar misrepresentations
22   as to each of these products (i.e., overestimating the useful lifetime of its LED lightbulbs, that the
23   lightbulbs have a 10 Year Warranty, that the products carry a 100% satisfaction guarantee, and that
24   the products will save hundreds of dollars per bulb over its useful lifetime).
25          Courts have made a finding of substantial similarity in comparable cases. For instance, in
26   Sonner v. Schwabe North America, Inc., 231 F.Supp.3d 502, 507 (C.D. Cal. 2017), the court
27   determined that the named plaintiff who had purchased Ginkgold had standing to pursue claims on
28   behalf of class members who had purchased Ginkgold Max. In so ruling, the court observed that both

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     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                          4:17-CV-06252-YGR
 1   products are marketed under the same contested benefit—that they are for “Mental Sharpness,”
 2   “Memory” and “Concentration”—and feature the same active ingredient, EGb 761. Id. Although
 3   Ginkgold and Ginkgold Max contained different amounts of EGb 761, the court determined this was
 4   a distinction without a difference and, thus, found the named plaintiff had standing to pursue claims
 5   on behalf of both groups of purchasers since the products were substantially similar. Likewise, the
 6   instant lawsuit is analogous regardless of distinctions such a wattage and whether the bulb is intended
 7   for indoor or outdoor use since all bulbs are LED bulbs and all bulbs were marketed using similar
 8   misrepresentations.19
 9          Importantly, however, even if the Court were to ultimately consider whether Plaintiff has
10   standing as to unpurchased products, Cree’s standing argument is premature and should be reserved
11   until class certification. Koh v. S.C. Johnson & Son, Inc., No. C-09-00927 RMW, 2010 WL 94265,
12   at *3 (N.D. Cal. Jan. 6, 2010) (denying defendants motion to dismiss plaintiff’s claims relating to
13   products he did not purchase, noting “this is not a case in which plaintiff is asserting claims against
14   defendants that never harmed him,” and “defer[ing] ruling on the issue until the class certification
15   stage”). See also Cardenas v. NBTY, Inc., 870 F.Supp.2d 984, 992 (E.D. Cal. 2012); Brown Hain
16   Celestial Grp., Inc., 913 F.Supp.2d at 890–92 (N.D. Cal. 2012); Burton v. Hodgson Mill, Inc., 16-CV-
17   1081-MJR-RJD, 2017 WL 1282882, at *5 (S.D. Ill. Apr. 6, 2017); Bietsch v. Sergeant’s Pet Care
18   Products, Inc., 15 C 5432, 2016 WL 1011512, at *9 (N.D. Ill. Mar. 15, 2016); Quinn v. Walgreen Co.,
19   958 F. Supp. 2d 533, 542 (S.D.N.Y. 2013); Elias v. Ungar’s Food Products, Inc., 252 F.R.D. 233, 243
20   (D. N.J. 2008) (granting in part motion for class certification and noting, “the fact that the named
21   plaintiffs did not purchase some of the products at issue does not render plaintiffs' claims atypical from
22   the potential class members nor does it defeat commonality”). Cree’s standing arguments regarding
23   unpurchased products are thus without merit and should be denied.
24

25

26   19
        See also Zapata Fonseca, 2016 WL 4698942, at *4 (finding plaintiff had standing to pursue
27   claims on behalf of all purchasers of Defendant’s Octopus Products [Octopus in Garlic, Octopus in
     Olive Oil, Octopus in Pickled Sauce, and Octopus in Hot Sauce] where the product packing was
28   substantially similar, where the plaintiff alleged the defendant had implemented a common scheme
     to use squid rather than octopus).
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     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                        4:17-CV-06252-YGR
 1      L. Privity Is Not A Bar To Plaintiff’s Breach Of Implied Warranties Claim
 2          Privity of contract is generally required in order to sustain an implied warranty claim under
 3   California law. Paramount Farms Int'l LLC v. Ventilex B.V., 500 F. App'x 586, 588–89 (9th Cir.
 4   2012). However, there is an exception where the plaintiff's decision to purchase the product was made
 5   in reliance on the manufacturers' written representations in labels or advertising materials. Fieldstone
 6   Co. v. Briggs Plumbing Prod., Inc., 54 Cal. App. 4th 357, 369, 62 Cal. Rptr. 2d 701, 708 (1997)
 7   (citations omitted); see also In re HP Inkjet Printer Litig., No. C 05-3580 JF, 2006 WL 563048, at *6
 8   (N.D. Cal. Mar. 7, 2006) (relying on Fieldstone for proposition that there is an exception to the privity
 9   requirement for breach of implied warranty claims where the plaintiff relies on the manufacturer’s
10   promotional materials; dismissing implied warranty claim because plaintiffs had failed to allege
11   reliance on the defendant’s advertisements or promotional materials);            T & M Solar & Air
12   Conditioning, Inc. v. Lennox Int'l Inc., 83 F. Supp. 3d 855, 874–75 (N.D. Cal. 2015) (“There are
13   ‘particularized exceptions’ to this privity requirement, such as ‘when the plaintiff relies on written
14   labels or advertisements of a manufacturer’…” Holding that the breach of express and implied breach
15   of warranty claims were actionable because the pleading sufficiently alleged that the plaintiffs relied
16   on the defendant’s representations.)
17          This case falls squarely within the reliance exception to the privity requirement for breach of
18   implied warranty claims. Plaintiff alleges that Cree made numerous misrepresentations concerning
19   the quality and longevity of the Lightbulbs. Complaint at ¶¶15-27. And, Plaintiff alleges that he relied
20   to his detriment on those materials. Id. at ¶¶ 1, 50, 67, 90, 96. Accordingly, lack of privity—the only
21   challenge made to the sufficiency of the breach of implied warranties claim—is not a bar to this cause
22   of action.
23      M. The CLRA Authorizes Punitive Damages
24          Defendant’s request that Plaintiff’s claims for punitive damages under the CLRA and for
25   negligent misrepresentation should be denied because “a request for damages is not a claim and not
26   subject to a Rule 12(b)(6) motion to dismiss.” Grimm v. APN, Inc., No. 817CV00356JVSJCG, 2017
27   WL 6398148, at *8 (C.D. Cal. Aug. 31, 2017) (citing Shimy v. Wright Med. Tech., Inc., No. 2-14-CV-
28   04541-CAS, 2014 WL 3694140, at *4 (C.D. Cal. July 23, 2014); see also Oppenheimer v. Sw. Airlines

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 1   Co., No. 13-CV-260-IEG-BGS, 2013 WL 3149483, at *4 (S.D. Cal. June 17, 2013) (collecting cases)).
 2   However, the CLRA explicitly authorizes the award of punitive damages. Cal. Civ. Code § 1780
 3   (West) (“(a) Any consumer who suffers any damage as a result of the use or employment by any
 4   person of a method, act, or practice declared to be unlawful by Section 1770 may bring an action
 5   against that person to recover or obtain any of the following:… (4) Punitive damages.”); Anunziato v.
 6   eMachines, Inc., 402 F. Supp. 2d 1133, 1137 (C.D. Cal. 2005) (“A plaintiff suing under the CLRA
 7   may recover actual and punitive damages…”); Parkinson v. Hyundai Motor Am., 258 F.R.D. 580, 597
 8   (C.D. Cal. 2008) (same).
 9          Kanfer v. Pharmacare US, Inc., 142 F. Supp. 3d 1091 (S.D. Cal. 2015), the case relied on by
10   Defendant for the proposition that the punitive damages under the CLRA must fail because of a failure
11   to allege that an “officer, director, or managing agent of the corporation” must have consciously
12   disregarded, authorized, or ratified each act of “oppression, fraud, or malice” is not at all to the
13   contrary.20 Indeed, in Kanfer the court rejected the defendant’s position, holding that allegations that
14   the defendant continued to sell the production at issue despite having been notified of the CLRA
15   violation were sufficient to state a claim for punitive damages. Kanfer, 142 F. Supp. 3d. at 1108.
16          Here, too, Plaintiff alleges that he notified Defendant of the CLRA violation, Complaint at ¶
17   75, but Defendant “concealed… the material facts that the LED Lightbulbs would not actually last for
18   the period or lifespan represented and that Plaintiff and Class members would not realize the promised
19   cost savings.” Id. at ¶ 48. Further, Cree falsely “represented, directly or indirectly, expressly or by
20   implication, that the LED Lightbulbs would last for specified periods or lifespans… [and] should have
21   disclosed this information because it was in a superior position to know the true facts related to the
22   LED Lightbulbs, was aware of the nature, qualities, reliability, durability and lifespan of the LED
23   Lightbulbs at the time it sold the Lightbulbs to consumers...” Complaint at ¶¶ 29, 49.           These
24   allegations illustrate that Defendant acted with malice and/or engaged in fraud, thereby confirming
25

26   20
        For punitive damages, a plaintiff only need to allege one of the three elements of oppression,
     fraud, or malice under Cal. Civ. Code § 3294(a). Tsan v. Seventh Generation, Inc., No. 15-CV-
27
     00205-JST, 2015 WL 6694104, at *7 (N.D. Cal. Nov. 3, 2015) (citing Allen v. Hyland's Inc., No. CV
28   12–01150 DMG (MANx), 2013 WL 1748408, at *2 (C.D. Cal. Apr. 11, 2013)).

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     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS                          4:17-CV-06252-YGR
 1   that punitive damages constitute an appropriate remedy. See e.g. Sloan v. 1st Am. Auto. Sales Training,
 2   No. 2:16-cv-05341-ODW (SK), 2017 WL 1395479, at *3 (C.D. Cal. Apr. 17, 2017) (“Punitive
 3   damages are potentially available here because Plaintiff has alleged that Defendants acted with
 4   malice.”).
 5      IV.       CONCLUSION
 6      The instant Motion should be denied. In the alternative, Plaintiff seeks leave to amend.
 7   Dated: February 22, 2018                         By:     s/ S. Clinton Woods
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